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17-132
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

 

Funds Chairman, James J. White; Funds Treasurers,
Stephen A. Cardi, Michael A. Gammino, Ill, and Henry
Sherlock; THE IUOE LOCAL 57 HEALTH AND WELFARE
FUND, Gregory E. Olson and Michael D’Ambra, Trustees;
THE IUOE LOCAL 57 PENSION FUND, Edwin L. Sullivan, Jr.
and Antonio B. Cardi, Trustees; THE IUOE LOCAL 57
ANNUITY FUND, Timothy E. Quillen and Antonio B. Cardi,
Trustees; THE IUOE LOCAL 57 LEGAL SERVICE FUND,
Gregory E. Olson and Stephen P. Lynch, Trustees; THE
IUOE LOCAL 57 APPRENTICESHIP FUND, Timothy E.
Quillen and Brad Bilodeau, Trustees; THE IUOE LOCAL 57
UNION ADMINISTRATION FUND, Timothy E. Quillen,
Trustee; THE IUOE LOCAL 57 POLITICAL ACTION AND
EDUCATION FUND, Timothy E. Quillen, Trustee; THE
IUOE LOCAL 57 INDUSTRY ADVANCEMENT FUND,
Michael A. Gammino Ill, Trustee; and THE IUOE LOCAL

57
Plaintiffs,
V. C.A. No. 1:17-CV-00582
NEW ENGLAND BUILDING & BRIDGE CO.
Defendant.

 

CONSENT ORDER
The plaintiffs filed the instant action against the defendant for unpaid contributions to
employee benefit funds and after reviewing the complaint and conferring about an amicable
resolution of this dispute, by agreement of the parties, it is hereby

ORDERED, ADJUDGED & DECREED

1. The parties agree to the following contributions are unpaid and due and owing:
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May 2017 $10,402.80
June 2017 $8,489.92
July 2017 $7,359.89
August 2017 $14,100.52
September 2017 $4,661.33
October 2017 54,578.31
November 2017 $2,549.51
Interest $880.25
| Total $53,022.53

 

 

 

2. New England Building & Bridge, Inc. made payment in the amount $8,000.00 on or
about February 1, 2018 which was applied to the unpaid contributions set forth in
Paragraph 1.

3. New England Building & Bridge, Inc. made payment in the amount $8,000.00 on or
about March 20, 2018 which was applied to the unpaid contributions set forth in
Paragraph 1.

4. New England Building & Bridge, Inc. made payment in the amount $8,000.00 on or
about April 9, 2018 which was applied to the unpaid contributions set forth in Paragraph
Ws

5. New England Building & Bridge, Inc. shall make the following payments to the Local 57
Benefit Funds:

 

 

 

 

 

May 1, 2018 $8,000.00
June 1, 2018 $8,000.00
July 1, 2018 $8,000.00
August 1, 2018 $5,022.53

 

 

 

 

6. New England Building & Bridge, Inc. agrees to pay all contributions that become due
after November 30, 2017 on time so that the arrearage does not increase.

7. If New England Building & Bridge, Inc. makes the above payments on the arrearage on
time and pays all contributions that become due after November 30, 2017 on time,
Local 57 Benefit Funds will not notify the bonding company of this arrearage.
Case 1

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of
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8.

10.

nd:

So long as defendant makes all of the payments pursuant to this consent order on or
before the due dates then plaintiffs agree not move for an entry of default or default
judgment. If defendant does not make a payment on or before the due date then
plaintiffs may, at their discretion, motion for the entry of default or default judgment.

If defendant makes all of the payments pursuant to this consent order then plaintiffs
will dismiss their complaint with prejudice.

Any and all payments made by defendant to plaintiff pursuant to Paragraph 1 and/or
Paragraph 5 shall be made by a bank or certified check and shall be hand delivered or
mailed to the Local 57 Benefit Funds Office located 857 Central Avenue, Johnston, RI

02919 on or before the due dates.

Defendant shall have a 5 day grace period within which to make the payments
contemplated herein before Plaintiff can move for entry of default or default judgment
as set forth herein.

 

 

Plaintiffs, Defendant,

By their attorney, By its attorney,

/s/ Ryan C. Hurley /s/ Jackson C. Parmenter

Ryan C. Hurley (7539) Jackson C. Parmenter (8396)
Kiernan, Plunkett & Redihan, LLP Kelly, Souza, Rocha & Parmenter, P.C.
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401-831-2900 401-490-7334

401-331-7123 Fax 401-490-7874 Fax
rhurley@kpriaw.com iparmenter@ksrplaw.com
ENTER: ORDER:

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